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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                     TYLER DIVISION

DONALD GILBREATH, ROBERT                       §
STEVE HICKS AND CAREY                          §
STRIPLING, INDIVIDUALLY AND                    §
ON BEHALF OF ALL OTHERS                        §
SIMILARLY SITUATED                             §
            Plaintiffs                         §
                                               §
vs.                                            §      C.A. NO. 6:17-cv-00618-RWS
                                               §      JURY TRIAL DEMANDED
                                               §
BROOKSHIRE GROCERY COMPANY                     §
         Defendant                             §

       PLAINTIFFS’ NOTICE OF READINESS FOR SCHEDULING CONFERENCE

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

         COMES NOW, Donald Gilbreath, Robert Steve Hicks, and Carey Stripling, Plaintiffs in
the above-entitled and numbered cause and files This, their Notice of Readiness for Scheduling
Conference and would respectfully show the Court as Follows:

1.       Pursuant to the Standing Order of the Court, Plaintiffs notify the Court that the Defendant
has answered and the case is ready for a scheduling conference.


                                                      Respectfully submitted,
                                                      /s/ William S. Hommel, Jr.
                                                      William S. Hommel, Jr.
                                                      State Bar No. 09934250
                                                      Hommel Law Firm
                                                      1404 Rice Road, Suite 200
                                                      Tyler, Texas 75703
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                                                      469-533-1618 Facsimile

                                                      ATTORNEY FOR PLAINTIFF




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                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing Notice of Readiness for
Scheduling Conference has been served on all counsel of record via electronic filing, on this the
28th day of November, 2017.

                                                      /s/ William S. Hommel, Jr.
                                                      William S. Hommel, Jr.




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